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                    Exhibit B
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                   MDL 1570 PLAINTIFFS’ EXECUTIVE COMMITTEES
                         In re: Terrorist Attacks on September 11, 2001 (S.D.N.Y.)

   Plaintiffs’ Executive Committee for Personal                Plaintiffs’ Executive Committee for
              Injury and Death Claims                                  Commercial Claims
Ronald L. Motley (1944-2013)                             Elliot R. Feldman, Co-Chair
Jodi Westbrook Flowers / Donald A. Migliori, Co-Chairs   Sean Carter, Co-Chair
MOTLEY RICE LLC                                          COZEN O’CONNOR
James P. Kreindler, Co-Chair
KREINDLER & KREINDLER LLP
Andrew J. Maloney III, Co-Liaison Counsel                J. Scott Tarbutton, Liaison Counsel
KREINDLER & KREINDLER LLP                                COZEN O’CONNOR
Robert T. Haefele, Co-Liaison Counsel
MOTLEY RICE LLC
                                            VIA ELECTRONC MAIL
July 19, 2018

Michael K. Kellogg (MKellogg@kellogghansen.com)
Gregory G. Rapawy (GRapawy@kellogghansen.com)
Kellogg, Hansen, Todd, Figel & Frederick, P.L.L.C.
Sumner Square
1615 M Street, N.W., Suite 400
Washington, D.C. 20036

         Re:      In Re: Terrorist Attacks on September 11, 2001, 03 MDL 1570 (GBD) (SN)

Dear Michael and Greg:

        On behalf of the Plaintiffs’ Executive Committees (“PECs”), we write to respond to the
Kingdom of Saudi Arabia’s proposal that a special confidentiality order be entered in relation to
the discovery proceedings that are ongoing as to the Kingdom of Saudi Arabia (“the Kingdom”)
pursuant to the Justice Against Sponsors of Terrorism Act (“JASTA”).

        The draft of the proposed Confidentiality Order submitted by the Kingdom to the PECs
would allow the Kingdom to unilaterally designate any documents it is producing in response to
the 9/11 plaintiffs’ discovery requests as “protected material.” Any court filings including any
such “protected material” would have to be submitted under seal. The Kingdom’s proposal
would mark a stark departure from the omnibus confidentiality and protective order (“omnibus
order”) initially sought by the Kingdom and imposed by the Court on October 3, 2006 (ECF No.
1900), which provides broad authority for parties in this litigation to designate sensitive materials
as confidential, but recognizes that materials that are relevant to a dispute pending before the
Court should be available to the public, including members of the 9/11 community. Indeed, the
central aspect of the proposal you make now was originally included in the proposed order that
you asked the Court to enter in 2006, but which the Court explicitly rejected when it entered the
omnibus order. Compare ECF No. 1900 (omnibus order) with ECF No. 1901 (proposed
protective order).
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Gregory G. Rapawy, Esq.
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         For the reasons discussed below, we do not believe the Kingdom has offered any
justification for a modification of the existing omnibus order, much less grounds for sealing
evidence directly relevant to disputes pending before the Court.

         Most significantly, the Kingdom has not identified any materials that it has committed to
produce that would warrant consideration of a heightened and burdensome confidentiality
procedure. In this regard, we requested during our conference call of July 13, 2018, that you
describe the nature of the documents the Kingdom will be producing for which it believes such
additional protections were necessary. In response, you mentioned the potential production of
responsive documents retrieved from the Kingdom’s embassy and consular files, but added that
the Kingdom may seek to withhold those documents wholesale based on claims of privilege.
Until the Kingdom commits to producing responsive documents from its embassy and consular
files and describes the subject matter of those documents, it would be premature and
inappropriate to consider any changes to the longstanding confidentiality procedures in the
litigation, based on generic claims about the allegedly sensitive nature of such documents.

        Further, no category of documents that you identified during our telephone conference as
documents that the Kingdom has committed to produce warrants revision of the longstanding
confidentiality procedures in this litigation. In particular, the only specific categories of
documents you identified that the Kingdom was committed to produce were “personnel” and
similar records for Omar al Bayoumi, Fahad al Thumairy, and Khalid al Swailem. (While we
would hope and expect that the Kingdom would be producing additional documents, those were
the only materials specifically identified during our telephone call that the Kingdom was
committed to producing in response to plaintiffs’ discovery requests).

        In your initial communication raising this issue, you indicated that the Kingdom believed
that the existing confidentiality and protective order would be adequate for such materials. See
July 8, 2018 email from M. Kellogg to S. Carter and J. Kreindler (“[M]any of the documents that
that [sic] we will be producing by the end of the month (including personnel files, financial
records, and educational records) are properly designated confidential under the terms of Judge
Casey’s existing confidentiality order [ECF No. 1900].”). While we understand that you have
retreated from that position during our subsequent conversations, we believe firmly that your
initial position – that the existing omnibus order is adequate to address any claimed
confidentiality regarding those documents – was correct, and that your revised position is not.
Nothing about those records differentiates them from what was contemplated before the Court
entered the omnibus order, specifically rejecting this proposal.

        Finally, we must note that we are troubled by the fact that this issue was only first raised
via your email communication on July 8, 2018. In this regard, we note that the Kingdom’s
collection of responsive documents has been ongoing for several months (and likely began
immediately after issuance of the Court’s March 28, 2018 Decision), yet the Kingdom did not
provide any indication that it believed modified confidentiality procedures might be necessary
with regard to its discovery documents until just a few weeks before the ultimate deadline for the
Kingdom to complete its production of documents. At this late stage in the process, the
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Gregory G. Rapawy, Esq.
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Kingdom unquestionably knows the precise nature of the responsive documents that have been
collected, and should be able to provide considerable specificity regarding the alleged sensitivity
of documents it is committed to produce, and why it believes the broad protections already
provided by the omnibus order might be insufficient for any such documents. It has not done so.

       For these and other reasons, we have been afforded no information that would warrant
consideration of, and will not stipulate to, the Kingdom’s proposed modification of the omnibus
order on the eve of the deadline for the Kingdom to produce its responsive documents. Please let
us know if you would like to discuss the issues raised in this letter further.

Respectfully,

MOTLEY RICE                                      COZEN O’CONNOR

 /s/ Robert T. Haefele                            /s/ Sean P. Carter, Esquire
Robert T. Haefele, Esquire                       Sean P. Carter, Esquire
28 Bridgeside Boulevard                          1650 Market Street, Suite 2800
Mt. Pleasant, SC 29464                           Philadelphia, PA 19103

MDL 1570 Plaintiffs’ Exec. Committee for         MDL 1570 Plaintiffs’ Exec. Committee for
Personal Injury and Death Claims                 Commercial Claims

KREINDLER & KREINDLER

 /s/ Andrew J. Maloney
Andrew J. Maloney, Esquire
750 Third Avenue, 32nd Floor
New York, NY 10017

MDL 1570 Plaintiffs’ Exec. Committee for
Personal Injury and Death Claims

cc:      Members of the Plaintiffs’ Executive Committees (via Email)




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